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                                                     #:186978

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                                        UNITED STATES DISTRICT COURT
           17                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  NOTICE OF CORRECTED
           20       a Delaware corporation,                       DECLARATION OF DIRECT
                                                                  TESTIMONY
           21                          Plaintiffs,
           22             v.                                      Hon. Judge James V. Selna
                                                                  Trial Date: November 5, 2024
           23       APPLE INC.,
                    a California corporation,
           24
                                       Defendant.
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           28       NOTICE OF CORRECTED DECLARATION OF DIRECT TESTIMONY
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
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and Dorr LLP
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                                                   #:186979

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           28       NOTICE OF CORRECTED DECLARATION OF DIRECT TESTIMONY
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Wilmer Cutler
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                 Case 8:20-cv-00048-JVS-JDE     Document 2228 Filed 10/30/24       Page 3 of 4 Page ID
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             1            PLEASE TAKE NOTICE Defendant Apple Inc. (“Apple”) is filing concurrently
             2      herewith the Corrected Declaration of Direct Testimony from Majid Sarrafzadeh.
             3            The reason for this filing is to correct in paragraphs 48 and 107 an inadvertent
             4      misstatement of the Court’s Order (Dkt. 1031) by deleting a sentence from each of those
             5      paragraphs. Specifically, Apple has deleted “To the extent Mr. Diab is offering expert
             6      opinion, I understand the court has stricken his attempt to do so. See Dkt. 1031 (order
             7      excluding hybrid expert opinion). In any event,” from paragraph 48 and “To the extent
             8      Mr. Diab is offering expert opinion, I understand the court has stricken his attempt to do
             9      so. See Dkt. 1031 (order excluding hybrid expert opinion). In any event,” from
           10       paragraph 107.
           11             Apple filed the original Declaration of Direct Testimony from Majid Sarrafzadeh
           12       on October 23, 2024. Dkt. 2185-9.
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                    NOTICE OF CORRECTED DECLARATION OF DIRECT TESTIMONY
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                                                   #:186981

             1      Dated: October 30, 2024              Respectfully submitted,
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             3
             4                                           /s/ Mark D. Selwyn
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